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ease 3:13-cr-00235-S Documem 1 Filed 05/08/13 Page 1 §P§I U§§`w OF TEXAS
IN THE UNITED STATES DISTRICT CGU"E_T ! MA,’ - 8 20|8
FOR THE NORTHERN DISTRICT oF TEXAS y m ___ ___M…M_,_`____
DALLAS DIVISION ct,§: 1».;, 11 5 1; ;:1"1‘1.;1 ooURT
UNITED STATES OF AMERICA TO BE FILED
V. '
NO. d -

NELSoNPABoN(l) 3'1BCR 235 S

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JEAN LoUI VARGAS MALAVE (2)
JUAN CAMACHo MELENDEZ (3)

A.K.A. “KENDo KAPoNI”

A.K.A. “ANTH`oNY”
RUBEN BENITEz-MATIENZO (4)
JOSE LUIS GASToN-RoLoN (5) ‘
JoSHUA ISRAEL PAGAN ZAPATA (6)

 

DoMlNGo vILLAFANE MARTINEZ, 111 (7)

LUIS JAVIER coLLAZo RoSADo (8)
A.K.A. “LUISITo”

MICHAEL LNU (9)

CRISTIAN DAVID CRUZ-RoDRIGUEZ (10)

 

SEAED INDICTMENT
The Grand Jury Charges:
QO_HIH_OH€
Conspiracy to Possess with Intent to Distribute a Schedule II Controlled Substance
(Violation of 21 U.S.C. § 846)

Beginning on or about August 5, 2016, and continuing through the filing date of
the indictment, in the Dallas Division of the Northern District of Texas and elsewhere,
NELSON PABON, JEAN LOUI VARGAS-MALAVE, JUAN CAMACHO
MELENDEZ a.k.a. “KENDO KAP()NI”, a.k.a. “ANTHONY”, RUBEN BENITEZ-
MATIENZO, JOSE LUIS GASTON-ROLON, JOSHUA ISRAEL PAGAN

ZAPATA, DOMINGO VILLAFANE MARTINEZ, III, LUIS JAVIER COLLAZO

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ROSADO a.k.a. “LUISITO”, MICHAEL LNU, and CRISTIAN DAVID CRUZ-
RODRIGUEZ, defendants herein, and others both known and unknown, did knowingly,
intentionally and unlawfully combine, conspire, confederate, and agree together, with
each other and with other persons both known and unknown, to commit certain offenses
against the United States, to-wit: to possess with the intent to distribute and to distribute
500 grams or more of a mixture or substance containing a detectable amount of
methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II controlled
substance.

In violation of 21 U.S.C. §§ 846, 841(a)(l) and 84l(b)(l)(A)(viii).

MANNER AND MEANS

During the conspiracy alleged herein, it was part of the conspiracy that one or

more of the defendants and coconspirators would:

l. Acquire kilogram amounts of a substance that was represented to be and that
the defendants and coconspirators believed to be methamphetamine;

2. Arrange for the transportation and delivery of kilogram amounts of a
substance that was represented to be and that the defendants and coconspirators
believed to be methamphetamine through the Dallas/Ft. Worth International
Airport and onto commercial airline flights by:

a. utilizing a position of employment at the Dallas/Ft. Worth
International Airport to bypass security, or
b. contacting an individual or individuals that they knew had a position

of employment at the Dallas/Ft. Worth International Airport in order
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b~)

8.

to get that individual or individuals to help bypass Security measures
at the Dallas/Ft. Worth Intemational Airport, or
c. aiding an individual or individuals that they knew in bypassing
security measures at the Dallas/Ft. Worth International Airport.
Transport kilogram amounts of a substance that the_defendants and
coconspirators believed to be methamphetamine on commercial airline
flights from the Northern District of Texas to various locations throughout
the United States and deliver the substance in exchange for payment;
Accept payment for the transportation and delivery of the substance that
was represented to be, and that the defendants and coconspirators believed
to be, methamphetamine in two parts, half up front, and half after
transportation via commercial airline was successfully completed;
Coordinate the transportation, distribution, and delivery of kilogram
amounts of the substance that the defendants and coconspirators believed to
be methamphetamine with persons both known and unknown to the Grand
Jury within the Northern District of Texas and elsewhere;
Utilize vehicles, homes, and communication facilities, including telephones
and cellular telephones, to discuss, negotiate, and facilitate the success of
the conspiracy;
Act as “look outs” or engage in counter-surveillance to bypass security
measures at the Dallas/Ft. Worth Intemational Airport; and,

Act as “look-outs” or engage in counter-surveillance to become aware of

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any police presence.
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l. In furtherance of the conspiracy alleged in Count One of the Indictment,
RUBEN BENITEZ-MATIENZO and JOSE LUIS GASTON-ROLON, on or about
September 29, 2016, met with officers acting in an undercover capacity (hereafter
referred to as undercover officers) and discussed placing luggage containing purported
crystal methamphetamine onto a commercial airplane at Dallas/Ft. Worth Intemational
Airport. RUBEN BENITEZ-MATIENZO and JOSE LUIS GASTON-ROLON agreed
to send the substance represented to be crystal methamphetamine to Newark Liberty
International Airport in Newark, New Jersey in exchange for a fee of $1500 per kilogram.

a. On or about September 29, 2016, RUBEN BENITEZ-MATIENZO
and JOSE LUIS GASTON-ROLON bypassed security at the Dallas/Ft. Worth
International Airport and shipped eight (8) kilograms of a substance that Was represented
to be methamphetamine to Newark Liberty International Airport in Newark, New Jersey.

b. The substance represented to be methamphetamine was loaded onto
’American Airlines flight number 0952 on or about September 30, 2016. The flight
departed Dallas/Ft. Worth Intemational Airport and travelled to Newark Liberty
International Airport in Newark, New Jersey. The eight (8) kilograms of the substance
represented to be methamphetamine were collected by law enforcement in Newark, New
Jersey.

2. In furtherance of the conspiracy alleged in Count One of the Indictment,

JOSE LUIS GASTON-ROLON met with undercover officers and introduced NELSON

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PABON, on or about November 10, 2016. During the meeting with undercover officers,
JOSE LUIS GASTON-ROLON and NELSON PABON discussed the logistics and
risks of transporting crystal methamphetamine, via commercial airline, from Dallas/Ft.
Worth International Airport to Newark Liberty `International Airport in Newark, New
Jersey. JOSE LUIS GASTON-ROLON and NELSON PABON agreed to ship the
substance represented to be crystal methamphetamine, via commercial airline, in
exchange for a fee of $1500 per kilogram.

a. On or about November 10, 2016, JOSE LUIS GASTON ROLON and
NELSON PABON bypassed security at Dallas/Ft. Worth International Airport and
shipped eight (8) kilograms of a substance that was represented to be methamphetamine
to Newark Liberty Intemational Airport in Newark, New Jersey in exchange for $1500 a
kilogram.

b. The substance represented to be methamphetamine was loaded onto
American Airlines flight number 0952 on or about November ll, 2016. The flight
departed Dallas/Ft. Worth International Airport and travelled to Newark Liberty
International Airport in Newark, New Jersey. The eight (8) kilograms of the substance
represented to be methamphetamine were collected by law enforcement in Newark, New
Jersey.

3. In furtherance of the conspiracy alleged in Count One of the Indictment,
NELSON PABON met With undercover officers, on or about May 23, 2017 . During this
meeting, NELSON PABON introduced JUAN CAMACHO MELENDEZ a.k.a.

“KENDO KAPONI” as “ANTHONY” and told an undercover officer he Was a trusted

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associate. NELSON PABON and JUAN CAMACHO MELENDEZ a.k.a. “KENDO
KAPONI”, a.k.a. “ANTHONY” discussed transporting luggage containing purported
crystal methamphetamine, via commercial airline, from Dallas/Ft. Worth International
Airport to Newark Liberty International Airport in Newark, New Jersey, in exchange for
$2000 per kilogram.

a. On or about May 25, 2017 , NELSON PABON and JUAN CAMACHO
MELENDEZ a.k.a. “KENDO KAPONI”, a.k.a. “ANTHONY” bypassed security at
the Dallas/Ft. Worth Intemational Airport and shipped ten (10) kilograms of a substance
that was represented to be crystal methamphetamine to Newark Liberty Intemational
Airport in Newark, New Jersey via commercial airline.

b. The substance represented to be methamphetamine was loaded onto
American Airlines flight number 1229 on or about May 25, 2017. The flight departed
Dallas/Ft. Worth International Airport and travelled to Newark Liberty International
Airport in Newark, New Jersey. The ten (10) kilograms of the substance represented to be
methamphetamine were collected by law enforcement in Newark, New Jersey.

4. In furtherance of the conspiracy alleged in Count One of the Indictment,
NELSON PABON met with undercover officers, on or about June 28, 2017, and
introduced DOMINGO VILLAFANE MARTINEZ, III as a trusted associate who
would be assisting in the transaction. During the meeting, NELSON PABON and
DOMINGO VILLAFANE MARTINEZ, III discussed the logistics of transporting
crystal methamphetamine via commercial airline. During the meeting with undercover

officers, NELSON PABON told undercover officers that his organization could smuggle
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anything onto a commercial airplane, including guns.

a. On or about June 28, 2017, NELSON PABON and DOMINGO
VILLAFANE MARTINEZ, III took possession of ten (10) kilograms of a substance
that was represented to be crystal methamphetamine, bypassed security, and shipped the
substance represented to be crystal methamphetamine, via commercial airline, from
Dallas/Ft. Worth International Airport to Newark Liberty International Airport in
Newark, New Jersey in exchange for a fee of $2000 per kilogram.

b. On or about June 29, 2017, law enforcement collected the ten (10)
kilograms of the substance that was represented to be crystal methamphetamine from ,
Newark Liberty International Airport in Newark, New Jersey.

5. In furtherance of the conspiracy alleged in Count One of the Indictment,
JUAN CAMACHO MELENDEZ a.k.a. “KENDO KAPONI”, a.k.a. “ANTHONY”
and CRISTIAN DAVID CRUZ-RODRIGUEZ met with undercover officers, on or
about June 29, 2017. During the meeting, JUAN CAMACHO MELENDEZ a.k.a.
“KENDO KAPONI”, a.k.a. “ANTH()NY” discussed bypassing security and smuggling
contraband onto commercial aircraft at Dallas/Ft. Worth International Airport.

a. On or about August 2, 2017, JUAN CAMACHO MELENDEZ
a.k.a. “KENDO KAPGNI”, a.k.a. “ANTHONY” and CHRISTIAN
DAVID CRUZ-RODRIGUEZ met with undercover officers and told an
undercover officer that they would ship six (6) kilograms of a substance that
was represented to be crystal methamphetamine for a previously negotiated

price of $1600 per kilogram.
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b. On or about August 3, 2017, JUAN CAMACHO MELENDEZ
a.k.a. “KENDO KAPONI”, a.k.a. “ANTHONY” and CRISTIAN DAVID CRUZ-
RODRIGUEZ took possession of the substance that was represented to be crystal
methamphetamine The substance was placed on American Airlines flight 632 and sent to
Charlotte, North Carolina.

c. On or about August 3, 2017 , law enforcement officers collected the
substance that Was represented to be crystal methamphetamine in Charlotte, North
Carolina.

6. In furtherance of the conspiracy alleged in Count One of the Indictment,
NELSON PABON met with undercover officers, on or about August 2, 2017 , and
introduced LUIS JAVIER COLLAZO ROSADO a.k.a. “LUISITO” as one of his
“guys.” At the meeting, NELSON PABON offered to ship narcotics to other airports in
addition to the usual shipments to Newark International Airport.

a. On or about August 3, 2017, NELSON PABON and LUIS JAVIER
COLLAZO ROSADO a.k.a. “LUISITO” took possession of a backpack containing ten
(10) kilograms of a substance that was represented to be crystal methamphetamine
NELSON PABON removed the kilograms from the backpack and counted them in front
of LUIS JAVIER COLLAZO ROSADO a.k.a. “LUISITO” and undercover officers.
The Substance that was represented to be crystal methamphetamine was shipped via
commercial airline from Dallas/Ft. Worth International Airport to Newark Liberty
International Airport, in Newark, New Jersey, in exchange for a fee of $2000 per

kilogram.

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b. On or about August 3, 2017 , NELSON PABON informed undercover
officers that flight 952 was cancelled. NELSON PABON told undercover officers there
was a new route and that he would keep them informed. The new flight was American
Airlines Flight 2390 with a scheduled departure time of 10:20 a.m. and a scheduled
arrival time of 2:46 p.m.

c. Law enforcement officers collected the backpack containing the ten (10)
kilograms of the substance that was represented to be crystal methamphetamine at
Newark Liberty International Airport in Newark, New Jersey.

7. In furtherance of the conspiracy alleged in Count One of the Indictment,
NELSON PABON met with undercover officers, on or about February 6, 2018, and
introduced JEAN LOUI VARGAS-MALAVE and JOSHUA ISRAEL PAGAN
ZAPATA. During the meeting, undercover officers informed JEAN LOUI VARGAS-
MALAVE and JOSHUA ISRAEL PAGAN ZAPATA that they were giving them
crystal methamphetamine to smuggle on airplanes. During the meeting, JEAN LOUI
VARGAS-MALAVE and JOSHUA ISRAEL PAGAN ZAPATA told undercover
officers what they did at the Dallas/Ft. Worth International Airport.

a. In a private meeting with an undercover officer, NELSON PABON was
asked if he was willing to ship plastic explosives in the next shipment of drugs.
NELSON PABON agreed to ship the explosives in exchange for a fee of $2500.

b. NELSON PABON subsequently took possession of ten (10)
kilograms of a substance that was represented to be crystal methamphetamine

NELSON PABON agreed to send the ten (10) kilograms of the substance that was

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represented to be methamphetamine for a fee of $2000 per kilogram plus an extra $4000
for introducing JEAN LOUI VARGAS-MALAVE and JOSHUA ISRAEL PAGAN
ZAPATA to undercover officers. The undercover officer instructed NELSON PABON
to send the narcotics on the usual flight to Newark, .New Jersey.

c. On February 7 , 2018, law enforcement officers collected the ten (10)
kilograms of the substance that was represented to be crystal methamphetamine at
Newark Liberty lnternational Airport in Newark, New Jersey.

8. In furtherance of the conspiracy alleged in Count One of the Indictment, l
JUAN CAMACHO MELENDEZ a.k.a. “KENDO KAPONI”, a.k.a. “ANTHONY”
met with undercover officers, on or about February 7 , 2018, and introduced MICHAEL
Last Name Unknown (LNU) as a person that would be assisting in getting a bag onto a
commercial airline flight. MICHAEL LNU told an undercover officer that he had been
informed that the bag contained a quantity of methamphetamine

a. On or about February 7, 2018, JUAN CAMACHO MELENDEZ
a.k.a. “KENDO KAPONI”, a.k.a. “ANTHONY” and MICHAEL LNU took
possession of four (4) kilograms of a substance that was represented to be
methamphetamine JUAN CAMACHO` MELENDEZ a.k.a. “KENDO KAPONI”,
a.k.a. “ANTHONY” and MICHAEL LNU agreed to facilitate the shipment of the
substance represented to be methamphetamine in exchange for $1500 per kilogram.

b. The four (4) kilograms of the substance that was represented to be
methamphetamine was shipped via commercial airline to Sky Harbor Airport in Phoenix,

Arizona.

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9. ln furtherance of the conspiracy discussed in Count One of the Indictment,
NELSON PABON discussed the following on March 7, 2018:

a. Transporting drugs through the Dallas/Ft. Worth International Airport via
commercial airline and discussed the logistics involved in the operation.

b. Discussed placing “kilos” (of a controlled substance) on a sofa at a
residence

c. During the meeting, NELSON PABON discussed that there would be
“thirteen” (kilograms of a controlled substance) in the next shipment and a quantity of C-
4. NELSON PABON assured another person that the C-4 would not explode NELSON
PABON discussed that the fee for shipping the C-4 would be $5500. NELSON
PABON then calculated that the total fee for the shipment (of the controlled substance
and the C-4) would be $31,500.

All in violation of 21 U.S.C. § 846, the penalty for which is found at 21 U.S.C. §

841(b)(1).

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FoRFEITURE NoTIcE
21 U.s.c. § 853(a) and 21 U.s.C. § ssi(a)

Upon conviction for any of the offenses alleged in Count One of this Indictment
and pursuant to 21 U.S.C. § 853(a), the defendants, NELSON PABON, JEAN LOUI
VARGAS-MALAVE, JUAN CAMACHO MELENDEZ a.k.a. “KENDf) KAPONI”,
a.k.a. “ANTHONY”, RUBEN BENITEZ-MATIENZO, JOSE LUIS GASTON-
ROLON, JOSHUA ISRAEL PAGAN ZAPATA, DOMINGO VILLAFANE
MARTINEZ, III, LUIS JAVIER COLLAZO ROSADO a.k.a. “LUISITO”,
MICHAEL LNU, and CRISTIAN DAVID CRUZ-RODRIGUEZ shall forfeit to the
United States of America any property constituting or derived from proceeds obtained,
directly or indirectly, as a result of the respective offense and any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the commission of, c

the respective offense

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FOREPERSON

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

NELSON PABoN (1)
JEAN LoUl vARGAs-MALAVE (2)
JUAN CAMACHo MELENDEZ (3)
A.K.A.”KENDo KAPONI”, A.K.A. “ANTHONY”
RUBEN BENIrEz-MATIENZo (4)
JoSE LUIS GAsToN-RoLoN (5)
JOSHUA ISRAEL PAGAN ZAPATA (6)
DoMlNGo vILLAFANE MARTINEZ, 111 (7)
LUIS JAVIER CoLLAZo RosADo (8) A.K.A. LUIslro
MICHAEL LNU (9)
CRISTIAN DAVID CRUz-RoDRIGUEZ (10)

 

SEALED INDICTMENT

21 U.S.C. § 846 ,
Conspiracy to Possess with Intent to Distribute a Schedule ll Controlled Substance

21 U.S.C. § 853(a) and 21 U.S.C. § 881(a)
Forfeiture Notice

l Count

Atrue bill rendered < ‘Z q ¢_Wj;>>",.~ f ~

DALLAS FOREPERSON

Filed in open court this 8th day of May, 2018.

SEALED Arrest Warrant to be Issued for all 10 defendants

UNITED STATES MAGISTRATE JUDGE \
No Criminal Matter Pending

